Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 1 of
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Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 2 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 3 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 4 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 5 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 6 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 7 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 8 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 9 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 10 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 11 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 12 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 13 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 14 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 15 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 16 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 17 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 18 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 19 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 20 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 21 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 22 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 23 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 24 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 25 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 26 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 27 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 28 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 29 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 30 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 31 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 32 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 33 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 34 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 35 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 36 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 37 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 38 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 39 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 40 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 41 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 42 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 43 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 44 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 45 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 46 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 47 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 48 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 49 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 50 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 51 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 52 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 53 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 54 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 55 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 56 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 57 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 58 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 59 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 60 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 61 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 62 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 63 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 64 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 65 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 66 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 67 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 68 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 69 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 70 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 71 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 72 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 73 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 74 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 75 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 76 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 77 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 78 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 79 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 80 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 81 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 82 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 83 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 84 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 85 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 86 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 87 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 88 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 89 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 90 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 91 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 92 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 93 of
                                      142




                                                                             H-R




                                                                              H-R
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 94 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 95 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 96 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 97 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 98 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 99 of
                                      142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 100 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 101 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 102 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 103 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 104 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 105 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 106 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 107 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 108 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 109 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 110 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 111 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 112 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 113 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 114 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 115 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 116 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 117 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 118 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 119 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 120 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 121 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 122 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 123 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 124 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 125 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 126 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 127 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 128 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 129 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 130 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 131 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 132 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 133 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 134 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 135 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 136 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 137 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 138 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 139 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 140 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 141 of
                                       142
Case 9:18-cv-80176-BB Document 600-15 Entered on FLSD Docket 06/26/2020 Page 142 of
                                       142
